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                IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE,
 DR. ALICE WASHINGTON, STEVEN
 HARRIS, ALEXIS CALHOUN, BLACK
 VOTERS MATTER CAPACITY
 BUILDING INSTITUTE, and THE
 LOUISIANA STATE CONFERENCE OF
 THE NAACP, et al.,                                   Civil Action No. 3:22-cv-
                                                      00178 SDD-SDJ
                              Plaintiffs,
 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,

                              Defendants.

  CONSENT MOTION TO DISMMIS PLAINTIFFS JARRETT LOFTON
                 AND ALEXIS CALHOUN

      Plaintiffs respectfully move this Court pursuant to Rules 21 and 41(a)(2) of the

Federal Rules of Civil Procedure, to allow Mr. Jarrett Lofton and Ms. Alexis

Calhoun to withdraw as plaintiffs in this action without prejudice. This motion is

made only as to those two individual plaintiffs. A memorandum in support is

provided.

      Plaintiffs respectfully request that the Court enter an order dismissing Jarrett

Lofton and Alexis Calhoun from this case pursuant to Rule 21 and/or 41(a)(2)

without prejudice, and removing them from the caption of this case.
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Date: September 1, 2023                 Respectfully submitted,

                                        /s/ Sarah Brannon         .
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                         CERTIFICATE OF SERVICE
      I hereby certify that, on the date set forth below, I caused a true and correct

copy of the foregoing Consent Motion to Dismiss Plaintiffs Jarrett Lofton and Alexis

Calhoun to be served via electronic mail to all counsel of record.



Dated: September 1, 2023                             /s/ Sarah Brannon
                                                     Sarah Brannon




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